Case 2:10-cv-14046-SJM-RSW ECF No. 223-1 filed 08/06/14   PageID.10714   Page 1 of
                                     29




                            EXHIBIT 1
Case 2:10-cv-14046-SJM-RSW ECF No. 223-1 filed 08/06/14           PageID.10715    Page 2 of
                                     29


                         UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION
     Eugene Allan, Deborah F. Allan,          )
     Keith Landen, Matthew J.                 )
     Cavendish, and Traci Cavendish, on       )
     behalf of themselves and others          )      Case No. 2:10-cv-14046
     similarly situated,                      )
                                              )      Hon. Steven J. Murphy, III
           Plaintiffs,                        )
     vs.                                      )      Magistrate Judge R. Steven Whalen
                                              )
     Realcomp II, Ltd., a Michigan            )
     Profit Corporation, et al.               )
                                              )
           Defendants                         )


          DECLARATION OF BRIAN D. PENNY IN SUPPORT OF
       PLAINTIFFS’ MOTION FOR AWARD OF ATTORNEYS’ FEES,
         REIMBURSEMENT OF EXPENSES INCURRED AND FOR
              PAYMENT OF REPRESENTATIVE AWARD

           I, Brian D. Penny, declare and state as follows:

           1.     I am a partner in the law firm of Goldman Scarlato Karon &

     Penny, P.C. I submit this declaration in support of Plaintiffs’ and Class

     Counsel’s motion for an award of attorneys’ fees and reimbursement of

     expenses in connection with services rendered and expenses incurred by the

     four law firms representing plaintiffs in this litigation.

           2.     My firm has acted as Co-Lead Counsel on this case and has

     lead Class Counsel’s efforts in litigating this case diligently and efficiently
Case 2:10-cv-14046-SJM-RSW ECF No. 223-1 filed 08/06/14        PageID.10716     Page 3 of
                                     29


     throughout. A non-exhaustive list of Class Counsel’s activities in this case

     include the following:

           • Extensive pre and post-filing research on the real estate industry,
             including numerous commission rate studies and statistical
             analyses;
           • Researching and drafting the initial complaint;

           • Negotiating and drafting the stipulated case management order and
             amendments thereto;

           • Participating in case management conferences;
           • Negotiating and drafting the stipulated protective order and the
             amendment thereto;
           • Researching and drafting the opposition to the Board Defendants’
             Motion to Dismiss;

           • Drafting and serving discovery requests and discovery responses
             and objections;

           • Reviewing and analyzing records of Realcomp’s Multiple Listing
             Service (“MLS”) board of directors, MLS policies and procedures,
             and data and closing documents for thousands of real estate
             transactions;
           • Extensive work with Plaintiffs’ economic and industry experts,
             including preparing for and defending the deposition of Plaintiffs’
             experts;

           • Preparing for and taking the depositions of Defendants’ economic
             expert;

           • Researching and drafting Plaintiffs’ motion for class certification
             and the reply to Defendants’ opposition to that motion;
           • Researching and drafting the opposition to Defendants’ Motions
             for Summary Judgment and/or Judgment on the Pleadings;


                                           2
Case 2:10-cv-14046-SJM-RSW ECF No. 223-1 filed 08/06/14         PageID.10717      Page 4 of
                                     29


           • Researching and drafting the opposition to Defendants’ Motion to
             Strike Plaintiffs’ economic expert;

           • Preparing Plaintiffs’ mediation statements and materials for three
             formal mediations;

           • Participating in three formal mediation sessions and several
             additional informal settlement conferences;

           • Negotiating the settlement agreement and preparing the related
             documents;

           • Retaining and working with a claims administrator to craft and
             execute a notice program and claims procedure; and

           • Preparing the motions for preliminary and final approval of the
             settlement and the accompanying documents.

           3.     The schedules attached as Exhibit A indicate the amount of

     time spent by Class Counsel who were involved in the work described

     above. The billing rates and lodestar calculations are all based on historical

     billing rates. The schedules were prepared from contemporaneous, daily

     time records regularly prepared and maintained by my firm and the other

     Class Counsel. The calculations also exclude routine clerical tasks unrelated

     to a specific activity. The hourly rates for the attorneys included in Exhibit A

     are the same as the usual and customary historical hourly rates charged for

     their services in similar complex class action matters. More detailed time

     records are available for inspection.

           4.     Class Counsel spent a total of 4,231.60 hours on the work

     described above in this litigation through August 6, 2014. Those hours do

                                             3
Case 2:10-cv-14046-SJM-RSW ECF No. 223-1 filed 08/06/14                  PageID.10718       Page 5 of
                                     29


     not include time counsel spent in preparing this motion for fees and

     expenses. The total lodestar for Class Counsel at historical hourly rates is

     $1,782,801.50.

            5.      Class Counsel’s lodestar figures are based on the firm’s

     historical billing rates, which do not include charges for expense items.

     Expense items are billed separately, and such charges are not duplicated in

     Class Counsel’s billing rates.

            6.      As also set forth in Exhibit A, from the inception of this

     litigation, Class Counsel have incurred a total of $300,771.71 (which

     includes $230,985.00 in expert costs) in expenses in connection with the

     performance of the work described in this declaration.

            7.      These expenses are reflected on Class Counsel’s books and

     records and are supported by bills, receipts, or invoices.1 These books and

     records were prepared from expense vouchers, check records and other

     similar source materials and represent an accurate recordation of the

     expenses incurred.

            8.      Additionally, by providing notice to the class and administering

     claims, the Claims Administrator has incurred total expenses of $137,639.45


     1
       Note that the bill from Advanced Analytical for Dr. Russell Lamb’s work on this case
     reflects total billings of $331,664.86. Class Counsel was able to negotiate this bill down
     to $225,000.00 for the Class.
                                                  4
Case 2:10-cv-14046-SJM-RSW ECF No. 223-1 filed 08/06/14       PageID.10719    Page 6 of
                                     29


     to date which have been paid from the Settlement Fund. Those invoices are

     attached separately as Exhibit B. Once the claims administration process is

     complete, the Claims Administrator will seek any further expenses that are

     incurred hereafter. The Claims Administrator anticipates future expenses of

     approximately $35,000.00.



           I declare under penalty of perjury under the laws of the United States

     of America that the foregoing statements are true and correct.

           Executed this 6th day August, 2014 in Wayne, Pennsylvania.

                                     _____s/ Brian D. Penny________
                                          Brian D. Penny




                                           5
Case 2:10-cv-14046-SJM-RSW ECF No. 223-1 filed 08/06/14   PageID.10720   Page 7 of
                                     29
Case 2:10-cv-14046-SJM-RSW ECF No. 223-1 filed 08/06/14   PageID.10721   Page 8 of
                                     29
Case 2:10-cv-14046-SJM-RSW ECF No. 223-1 filed 08/06/14   PageID.10722   Page 9 of
                                     29
Case 2:10-cv-14046-SJM-RSW ECF No. 223-1 filed 08/06/14   PageID.10723   Page 10 of
                                      29
Case 2:10-cv-14046-SJM-RSW ECF No. 223-1 filed 08/06/14   PageID.10724   Page 11 of
                                      29
Case 2:10-cv-14046-SJM-RSW ECF No. 223-1 filed 08/06/14   PageID.10725   Page 12 of
                                      29
Case 2:10-cv-14046-SJM-RSW ECF No. 223-1 filed 08/06/14   PageID.10726   Page 13 of
                                      29
Case 2:10-cv-14046-SJM-RSW ECF No. 223-1 filed 08/06/14   PageID.10727   Page 14 of
                                      29
Case 2:10-cv-14046-SJM-RSW ECF No. 223-1 filed 08/06/14   PageID.10728   Page 15 of
                                      29
Case 2:10-cv-14046-SJM-RSW ECF No. 223-1 filed 08/06/14   PageID.10729   Page 16 of
                                      29
Case 2:10-cv-14046-SJM-RSW ECF No. 223-1 filed 08/06/14   PageID.10730   Page 17 of
                                      29
Case 2:10-cv-14046-SJM-RSW ECF No. 223-1 filed 08/06/14   PageID.10731   Page 18 of
                                      29
Case 2:10-cv-14046-SJM-RSW ECF No. 223-1 filed 08/06/14   PageID.10732   Page 19 of
                                      29
Case 2:10-cv-14046-SJM-RSW ECF No. 223-1 filed 08/06/14   PageID.10733   Page 20 of
                                      29
Case 2:10-cv-14046-SJM-RSW ECF No. 223-1 filed 08/06/14   PageID.10734   Page 21 of
                                      29
Case 2:10-cv-14046-SJM-RSW ECF No. 223-1 filed 08/06/14   PageID.10735   Page 22 of
                                      29
Case 2:10-cv-14046-SJM-RSW ECF No. 223-1 filed 08/06/14   PageID.10736   Page 23 of
                                      29
Case 2:10-cv-14046-SJM-RSW ECF No. 223-1 filed 08/06/14   PageID.10737   Page 24 of
                                      29
Case 2:10-cv-14046-SJM-RSW ECF No. 223-1 filed 08/06/14   PageID.10738   Page 25 of
                                      29
Case 2:10-cv-14046-SJM-RSW ECF No. 223-1 filed 08/06/14   PageID.10739   Page 26 of
                                      29
Case 2:10-cv-14046-SJM-RSW ECF No. 223-1 filed 08/06/14   PageID.10740   Page 27 of
                                      29
Case 2:10-cv-14046-SJM-RSW ECF No. 223-1 filed 08/06/14   PageID.10741   Page 28 of
                                      29
Case 2:10-cv-14046-SJM-RSW ECF No. 223-1 filed 08/06/14   PageID.10742   Page 29 of
                                      29
